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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

  OPEN CHEER & DANCE CHAMPIONSHIP
  SERIES, LLC, et al.,

             Plaintiffs,

  V.                                                         2:23-CV-155-Z

  VARSITY SPIRIT, LLC, et al.,

             Defendants.

                           MEMORANDUM OPINION AND ORDER

        Before the Court is Plaintiffs' Motion to Compel Discovery Responses from Defendant

 International All Star Federation, Inc. ("IASF") ("Motion") (ECF No. 68), filed November 7, 2024.

 The Court ordered IASF to respond by November 15, 2024, considering the expedited nature of

 the Motion. ECF No. 73. IASF did so. ECF No. 76. Plaintiffs filed a reply on November 20, 2024.

 ECF No. 78. Having considered the Motion and relevant law on an expedited basis, the Court

 GRANTS the Motion IN PART.

        BACKGROUND

        Plaintiffs sued Defendants alleging anticompetitive activity against Plaintiffs intended to

 prevent Plaintiffs from "gaining a foothold in the market" because Defendants "feared it would

 take away their control of the market." ECF No. 1 at 6. Plaintiffs' claims centered on violations of

 the Sherman Antitrust Act, the Clayton Act, and the Texas Free Enterprise and Antitrust Act of

 1983, among others. Id. at 39-44. Plaintiffs argue Defendants' "cheer cartel" colluded to enact

 group boycotts and other collusive activity to prevent Plaintiffs from competing against them for

 All Star cheer competitions. Id. at 6, 6-9.
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        The discovery process for this case has been fraught. The parties had a Rule 26(f)

 conference on January 3, 2024. Id. at 7. But they failed to fulfill their duty to "submit[] to the court

 within 14 days after the conference a written report outlining the [proposed discovery] plan." FED.

 R. Civ. P. 26(f)(2) (emphasis added). This failure prevented the opening of discovery. See

 Escareno ex rel. A.E. v. Lundbeck, LLC, No. 3:14-CV-257, 2014 WL 1976867, at *3 (N.D. Tex.

 May 15, 2014) (explaining "the requirements that the parties hold the Rule 26(f) conference and

 submit the required report to the Court before any discovery requests can be served"); see also

 Thompson v. Fred's Stores of Tenn., Inc., No. 3:15-CV-102, 2015 WL 5655948, at *2 (S.D. Miss.

 Sept. 24, 2015) (discovery not appropriate when "nothing ha[d] been submitted to show that the

 parties had conferred and developed a discovery plan"). On June 18, 2024, the Court ordered the

 parties to submit a proposed scheduling and discovery order. ECF No. 54. Discovery opened in

 July 2024 once the parties submitted a proposed joint scheduling and discovery order in response.

 ECF No. 59. In that proposal, parties agreed to a set of discovery deadlines that still govern the

 case and necessitate the expedited nature of this Order.

        Plaintiffs served their first discovery requests on September 6, 2024. ECF No. 76 at 6.

 IASF responded seven days beyond its agreed deadline after Plaintiffs consented to an extension.

 ECF No. 63 at 3. IASF objected to many of Plaintiffs' requests and agreed to produce other

 documents on a "rolling basis." ECF No. 76 at 6. Plaintiffs correctly note that IASF should "specify

 the ... end dates" of its rolling production. See FED. R. C1v. P. 34(b)(2)(B) advisory committee's

 note to 2015 amendment; see also Tor sh, Inc. v. Audio Enhancement, Inc., No. 22-2862, 2023 WL

 7688583, at* 14 (E.D. La. Nov. 15, 2023) (a party is "entitled to a date certain by which ... rolling

 production will be completed as Rule 34 plainly requires the responding party to specify an end

 date within a reasonable period of time"). IASF failed to specify such a date. After IASF's




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 responses and objections, the parties communicated about the discovery responses. ECF No. 76 at

 6. Plaintiffs sent a letter proposing to limit the scope of some of the discovery requests. ECF No.

 76-1 at 173-75. IASF responded that it would answer the proposed limitations during the following

 week. Id. at 177. When IASF did not respond within one week, Plaintiffs filed this Motion to

 Compel.

        LEGAL STANDARD


        Federal Rule of Civil Procedure Rule 26(b )(1) explains that parties "may obtain discovery

 regarding any nonprivileged matter that is relevant to any party's claim or defense and proportional

 to the needs of the case." The scope of discovery is broad. Planned Parenthood Fed'n ofAm., Inc.,

 No. 2:21-CV-022, 2022 WL 19010334, at *2 (N.D. Tex. Aug. 25, 2022). Thus, Rule 26's only

 limitations are that discovery requests need to be "(1) relevant to a claim or defense in the case;

 and (2) proportional to the needs of the case." Id. The threshold for relevance at this point in a case

 is distinctly lower than the threshold of relevance for admissibility. See Rangel v. Gonzalez

 Mascorro, 274 F.R.D. 585, 590 (S.D. Tex. 2011) (citations omitted). At this stage, relevance is

 construed broadly enough to include any "matter that bears on, or that reasonably could lead to

 other matter that could bear on, any issue that is or may be in the case." Id. (internal quotation

 omitted).

        Thus, discovery should be allowed unless "the information sought can have no possible

 bearing on the claim or defense of a party." Merrill v. Wajjle House, Inc., 227 F.R.D. 467, 470

 (N.D. Tex. 2005). A party may resist a discovery request by showing that it is "overly broad,

 unduly burdensome, or oppressive." Heller v. City of Dallas, 303 F.R.D. 466, 490 (N.D. Tex.

 2014 ). The party resisting disclosure has the burden to "establish the lack of relevance by

 demonstrating that the requested discovery either does not come within the broad scope of




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 relevance ... or is of such marginal relevance that the potential harm occasioned by discovery

 would outweigh the ordinary presumption in favor of broad disclosure." Id. at 4 70-71.

        If a party fails to produce documents or answer an interrogatory under Federal Rules of

 Civil Procedure 33 and 34, then Rule 37(a)(3)(B) allows the other party to "move for an order

 compelling an answer, designation, production, or inspection." FED. R. C1v. P. 37(a)(3)(B). The

 party resisting the compulsion "must show specifically how each discovery request is not relevant

 or otherwise objectionable." Areizaga v. ADW Corp., 314 F.R.D. 428,434 (N.D. Tex. 2016) (citing

 McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990)). An

 "evasive or incomplete disclosure, answer, or response must be treated as a failure to disclose,

 answer, or respond." FED. R. C1v. P. 37(a)(4). Similarly, "[s]erving unsupported and boilerplate or

 stock objections does not preserve or accomplish anything other than waiver and subjecting the

 responding party to sanctions." Lopez v. Don Herring Ltd., 327 F.R.D. 567,582 (N.D. Tex. 2018).

        But the court protects a resisting party if "the discovery sought is unreasonably cumulative

 or duplicative, or can be obtained from some other source that is more convenient, less

 burdensome, or less expensive." FED. R. C!v. P. 26(b)(2)(C)(i). Even though discovery is broad,

 and a resisting party bears the burden of proof to avoid court compulsion, Rule 26(b) "has never

 been a license to engage in an unwieldy, burdensome, and speculative fishing expedition." Murphy

 v. Deloitte & Touche Grp. Ins. Plan, 619 F.3d 1151, 1163 (10th Cir. 2010) (citing Crawford-El v.

 Britton, 523 U.S. 574, 598 (1998) ("Rule 26 vests the trial judge with broad discretion to tailor

 discovery narrowly.")).

        ANALYSIS

        Discovery in antitrust litigation "can be expensive" because it has an "extensive scope."

 Bell At/. Corp. v. Twombly, 550 U.S. 544, 558, 559 (2007) (citing MANUAL FOR COMPLEX




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 LITIGATION, FOURTH,§ 30, p. 519 (2004)); see also Am. Tel. & Tel. Co. v. Delta Comm 'ns Corp.,

 408 F. Supp. 1075, 1111 (S.D. Miss. 1976) (antitrust litigation can involve a "paper mountain of

 discovery"). There is a reason for this. Where "allegations of conspiracy or monopolization are

 involved ... broad discovery may be needed to uncover evidence of invidious design, pattern or

 intent." Cyntegra, Inc. v. IDEXX Lab'ys, Inc., No. CV 06-4170, 2007 WL 9701999, at *4 (C.D.

 Cal. June 29, 2007) (citation omitted). Without broad discovery, "direct evidence of an

 anticompetitive conspiracy is often difficult to obtain." In re Urethane Antitrust Litig., 261 F.R.D.

 570, 573 (D. Kan. 2009).

         Thus, courts tend to "liberally construe[]" the discovery rules in "antitrust cases." F. T. C.

 v. Lukens Steel Co., 444 F. Supp. 803, 805 (D.D.C. 1977). Consequently, the "burden or cost of

 providing the information sought is less weighty a consideration than in other cases." New Park

 Ent., LLC v. Elec. Factory Concerts, Inc., No. Civ.A. 98-775, 2000 WL 62315, at *3 (E.D. Pa.

 Jan. 13, 2000) (quoting United States v. Int'! Bus. Mach. Corp., 66 F.R.D. 186, 189 (S.D.N.Y.

 1974)); see also Freedom Med., Inc. v. Premier Purchasing Partners, L.P., No. 5:09-CV-152,

 2011 WL 13196168, at *2 (E.D. Tex. Apr. 29, 2011) ("Discovery in antitrust cases must also be

 informed by the principle that discovery inconvenience may be outweighed by the public interest

 in seeking the truth in every litigated case.").

         I. Requests for Production 47, 48, 49, 52, and 53

         Plaintiffs' requests 47--49, 52, and 53 all request contracts between IASF and the other

 Defendants. ECF No. 68-1 at 17. Request 4 7 requests contracts "related to cheer leading or dance"

 between IASF and all Defendants. Id. Request 48 requests contracts between Varsity and IASF

 about producing "all star cheerleading or dance event[s]." Id. Request 49 requests contracts and

 documents about IASF sharing revenues and expenses with all other Defendants. Id. Request 52




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 requests all contracts "related to the operation or management of' IASF and all Defendants. Id.

 Request 53 requests every other contract between IASF and all other Defendants. Id.

         IASF objected to Requests 47--49's request for drafts and versions of the contracts, for

 being vague and ambiguous, for being irrelevant, and for being unduly burdensome and not

 proportional. ECF No. 68-2 at 34-36. Plaintiffs proposed limits to the requests. ECF No. 68 at 15.

 IASF objected to Requests 52 and 53 for similar reasons and refused to produce any responsive

 documents for those requests. ECF No. 68-2 at 37-38. Plaintiff also proposed limits to those

 requests. ECF No. 68 at 15.

        As curtailed by Plaintiffs' proposed limitations, Plaintiffs Motion is GRANTED as to

 Requests 47, 48, and 49. Plaintiffs' Motion is DENIED as to Requests 52 and 53. Requests 47-

 49, as limited by Plaintiffs' proposed limitations, are relevant to claims at issue. Executed contracts

 with amendments between IASF and other Defendants related to shared revenues or expenses,

 cheerleading and dance, and all-star cheerleading and dance are all relevant to allegations of

 anticompetitive activity between Defendants related to cheerleading and dance events. These

 contracts will help evidence if Defendants coordinate anticompetitive activity between themselves.

        As limited, the production of executed contracts is not unduly burdensome nor out of

 proportion to expansive antitrust discovery. IASF fails to explain how these requests would be

 unduly burdensome and thus its objections on those grounds amount to boilerplate. See Lopez, 327

 F.R.D. at 582; S.E.C. v. Brady, 238 F.R.D. 429, 437 (N.D. Tex. 2006) ("A mere statement by a

 party that a request is overly broad and unduly burdensome is not adequate to voice a successful

 objection." (internal quotes omitted)). Further, the term "executed contract" is not vague or

 ambiguous. Requests 52 and 53 are denied because they would surely encompass documents

 beyond the scope of the antitrust claims -      particularly Request 53. By keeping production of




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 contracts between Defendants limited to those relating to events at the center of these claims,

 Defendants' concerns can be resolved, and the Requests' duplicative nature reduced.

        IASF for some reason objects to Requests but simultaneously claims "it is not aware of any

 written contracts between IASF and any of the other Defendants, much less any in its possession,

 custody, or control." ECF No. 76 at 10. International All Star Foundation ("Foundation") claims

 it is the "effective successor to the dissolved International All Star Federation, Inc." ECF No. 76

 at 13. International All Star Federation ("Federation"), though apparently dissolved in 2022, has

 been litigating up until the Response to this Motion. See, e.g., ECF No. 64 at 4. Because

 International All Star Foundation is the successor to International All Star Federation, the Court

 ORDERS certification that both International All Star Foundation and International All Star

 Federation have no written contracts between them and all other Defendants or, alternatively,

 production of those documents consistent with this Order. If IASF certifies its representation is

 accurate and no written contracts between either the Federation or the Foundation and the other

 Defendants exist, then IASF should take care to understand and comply with Federal Rule of Civil

 Procedure 34(b )(2)(C) and explain in future discovery if documents are being withheld because of

 an objection. IASF did not comply with this Rule in its objections to Plaintiffs' requests. IASF is

 ORDERED to produce documents responsive to Requests 47--49 in the possession, custody, or

 control of either the Federation or the Foundation as curtailed by Plaintiffs' proposed limitations.

 ECF Nos. 68 at 15, 76 at 9.

        II. Request for Production 60

        Plaintiffs' Request for Production 60 asks IASF to produce "all documents or information

 provided" by IASF to other Defendants "reflecting financial information, sales data, and any other




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 competitively sensitive business information related to another event producers ' cheerleading and

 dance event operations or business." ECF No. 68-1 at 19.

        IASF responded with boilerplate objections claiming the Request was overly broad, unduly

 burdensome, and not proportional to the case ' s needs. ECF No . 68-2 at 44. IASF also objected and

 claimed the terms "competitively sensitive business information" and "cheerleading and dance

 event operations or business" were vague, ambiguous, and overly broad. In response, Plaintiffs

 limited and defined these terms. ECF No. 68 at 16.

        Whether IASF shared other event producers' financial information to other Defendants is

 relevant to whether anticompetitive activity occurred. If the other Defendants and IASF had access

 to other event producers' sensitive financial information, then Defendants could engage in activity

 that would aid in potential anticompetitive activity and potentially bar other event producers from

 successfully entering the market. See, e.g. , In re Broiler Chicken Antitrust Litig. , 290 F. Supp. 3d

 772, 798 (N.D. Ill. 2017). IASF's protestations that Plaintiffs did not articulate a basis for suspicion

 does not amount to a denial that such documents exist. The Request is also proportional to the

 needs of the case as limited by Plaintiffs' proposals. Plaintiffs' Motion is GRANTED as to

 Request 60 as limited by both parties. IASF is ORDERED to produce documents responsive to

 Request 60, as limited by Plaintiff, in the possession, custody, or control of either the Federation

 or the Foundation. ECF No. 68 at 16 (Plaintiffs' proposed limitations).

         III. Request for Production 65

         Plaintiff requests financial statements related to All Star cheer and dance competitions.

 ECF No. 68-1 at 19. IASF objected because it would require producing virtually all its financial

 statements and that the terminology was vague and ambiguous. ECF 68-2 at 46. Plaintiffs again

 limited the scope of the request. ECF No . 68 at 17- 18. IASF agreed to produce income statements




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 for calendar years 2020-2023. ECF No. 76 at 12. IASF contends that this will show all annual

 revenue for IASF including all derived from All Star cheer and dance competitions. As limited by

 Plaintiffs and IASF, the request is relevant and proportional. Plaintiffs' Motion is GRANTED for

 Request 65 as limited by both parties. IASF is ORDERED to produce documents response to

 Request 65, as limited by Plaintiffs and IASF, in the possession, custody, or control of either the

 Federation or the Foundation.

        IV. Request for Production 81

        Plaintiffs' Request 81 asks IASF to produce any judgment-sharing agreements that may

 exist between IASF and Defendants. IASF argues any judgment-sharing agreement is not relevant

 because this is not the sort of case where a jury would expect Defendants to blame each other for

 the alleged anticompetitive activity. IASF's argument is unavailing. IASF's primary authority

 against production of a judgment-sharing agreement denies it on timeliness grounds and

 admissibility to trial grounds. See In re HIV Antitrust Litig., No. 19-CV-02573, 2023 WL 3668960,

 at * 1-2 (N.D. Cal. May 24, 2023) ("As an initial matter, the motion is untimely ... Plaintiffs'

 motion ... clearly is directed to admissibility as well."). But the Court need not make any decision

 as to admissibility at this juncture. And the potential existence of a judgment-sharing agreement is

 relevant. A judgment-sharing agreement is relevant to witness credibility and bias. See Geneva

 Pharm. Tech. Corp. v. Barr Lab 'ys, Inc., No. 98 CIV.861, 2003 WL 1345136, at *5 (S.D.N.Y.

 Mar. 9, 2003). Plaintiffs argue extensively from (but to their shame fail to cite) a journal article

 noting the relevance of judgment-sharing agreements in antitrust litigation. See Christopher R.

 Leslie, Judgment-Sharing Agreements, 58 DUKE L.J. 747, 809-10 (2009) (noting judgment-

 sharing agreements are sometimes discoverable and are relevant for witness bias, the alteration of

 incentives among defendants, and to provide evidence about participants with information about




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  the alleged conspiracy). The Court GRANTS Plaintiffs' Motion as to Request 81 to the extent any

 judgment-sharing agreements are not covered under attorney-client privilege or the work-product

  doctrine. IASF is ORDERED to produce responsive documents in the possession, custody, or

  control of either the Federation or the Foundation. If such documents are privileged, IASF must

  state with specificity the nature and applicability of the privilege. In respect to documents that

 pertain to the Federation, the attorney-client privilege may not apply because the Federation is

 dissolved. See United States v. Walters, No. 2:19-CR-51, 2020 WL 1934803, at *2 (S.D. Miss.

 Apr. 21, 2020) ("The weight of federal authority supports a holding that there is a presumption the

 attorney-client privilege is no longer viable after a business entity ceases to function." (citing

 cases)).

            V. Requests for Production 88, 89, and 90

            Plaintiffs' Requests 88-90 request documents and communications related to the

 dissolution of the Federation with the other Defendants. ECF No. 68-2 at 55-56. IASF objected

 that these Requests are wholly irrelevant to Plaintiffs' claims but agreed to produce documents

 establishing that the Federation had been dissolved. Id. IASF does not explain in its objections

 how the sought information is irrelevant. Nor does IASF argue in its Response exactly how the

 Requests are irrelevant. In contrast, Plaintiffs note that IASF has another Defendant's Chief Legal

  Officer as its registered agent, suggesting some level of internal intertwining between the entities.

 IASF does not address this. Instead, IASF argues Plaintiffs are fishing without answering how, if

 other Defendants were involved with the Federation's dissolution, it would not provide some

  circumstantial evidence of potential collusion - especially if assets or liabilities were transferred .

 Antitrust litigation discovery can be expansive. But Plaintiffs' requests, while likely relevant, may

  sweep too broadly and begin to be unduly burdensome. Accordingly, the Court DENIES Request
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  88 because IASF has already produced this information. ECF No. 76 at 13. The Court GRANTS

 Plaintiffs' Motion as to Requests 89 and 90 but limits them as follows:

        Request 89: The Court ORDERS IASF to produce all documents and communications

 between all Defendants that are in the possession, custody, or control of either the Federation or

 the Foundation which are related to the dissolution of the IASF.

        Request 90: The Court ORDERS IASF to produce all documents and communications

 between all Defendants that are in the possession, custody, or control of either the Federation or

 the Foundation which are related to the transfer or assignment of any ofIASF's assets or liabilities

 to another Defendant as part of the dissolution of the IASF.

        VI. Request for Production 5, 14, 15, 40, and 42

        Plaintiffs' Request 5 asks for production of communications between IASF and any other

 person that refer or relate to "Plaintiffs, the Allstar World Championship, or restrictions on event

 producers." ECF Nos. 68 at 21, 68-2 at 9-10. IASF agrees to "produce communications in its

 possession that refer to Plaintiffs or the All Star World Championship" and claims it already has.

 ECF No. 76 at 14. But IASF does not claim to have agreed to produce communications on

 restrictions on event producers. When the heart of the Complaint alleges anticompetitive, collusive

 activity among Defendants by placing restrictions on event producers, such communications are

 relevant. IASF levels no more than boilerplate objections on burdensomeness and proportionality.

        Accordingly, Plaintiffs' Motion is GRANTED as to Request 5. To the extent IASF has not

 already done so, the Court ORDERS IASF to produce all communications that are in the

 possession, custody, or control of either the Federation or the Foundation that relate to restrictions

 on event producers as set forth in Request 5, subparts (a)-(e).




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         Plaintiffs' Motion as to Requests 14 and 15 is DENIED. IASF was not a party to the

 previous trademark litigation at issue and the trademark assignment was between other Defendants

 in this suit. Plaintiffs may be able to acquire such information to the extent it demonstrates

 collusive activity from other Defendants in this case that are related to the underlying transaction

 and litigation. See FED. R. C1v. P. 26(b)(2)(C)(i).

         Plaintiffs' Motion is GRANTED as to Request 40 because it is plainly relevant to the

 alleged underlying anticompetitive, collusive activity. The Court ORDERS IASF to produce

 documents or communications that are in the possession, custody, or control of either the

 Federation or the Foundation related to any efforts to require event producers to impose restrictions

 on which cheerleading or dance events their own customers may attend.

         Plaintiffs' Motion is DENIED as to Request 42. Request 42 is overly broad because it

 requests all documents and communications related to "any complaints or concerns ... about

 IASF's, USASF's, or Varsity's policies, rules, or practices." ECF No. 68-2 at 31. Of course, event

 producers, athletes, gyms, and coaches will lodge bevies of complaints or concerns about IASF

 policies, and most will likely not relate to alleged collusive, anticompetitive activity on the part of

 IASF or Defendants.

         VII. Attorney's Fees

         Federal Rule of Civil Procedure 37(a)(5)(A), (C) requires a court to require the party whose

  conduct necessitated the motion to compel the payment of the movant's reasonable expenses

  incurred in making the motion. However, the court may not order such payment is the movant did

  not engage in good faith to obtain the discovery prior to filling the motion to compel, the resisting

  party's nondisclosure or objections were substantially justified, or other circumstances make the




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  award unjust. FED. R. C1v. P. 37(a)(5)(A)(i}-(iii). If the motion to compel is granted in part and

 denied in part, then the court may apportion the reasonable expenses. FED. R. C1v. P. 37(a)(5)(C).

         Accordingly, because the Court granted the Motion in part and denied in part, the Court

 grants IASF an "opportunity to be heard" and ORDERS IASF to brief why the court should not

 "apportion the reasonable expenses for the motion." FED. R. C1v. P. 37(a)(5)(C).

         CONCLUSION

         The Plaintiffs' Motion is GRANTED IN PART AND DENIED IN PART. IASF is

  ORDERED to complete its rolling production within seven days of the issuance of this Order.

         SO ORDERED.

         November '7-(2024



                                                          ITED STATES DISTRICT JUDGE




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